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U.S. COURT OF
In the Anited States Court of Me ederal Clathis “™s
No. 12-191 T
Filed: December 20, 2012
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7 7422(a):
GREGORY BLUE, * Informal Claim Doctrine;
7 Motion To Dismiss, RCFC 12(b)(1);
Plaintiff, pro se, * Motion For A More Definite
* Statement, RCFC 12(e);
Vv. * Pro Se;
* Tax;
THE UNITED STATES, 7 Time To Serve A Responsive
* Pleading, RCFC 12(a)(4)(A)(i)
Defendant. : Summary Judgment, RCFC 56;

Waiver Doctrine.
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Gregory Blue, Hempstead, New York, Plaintiff, pro se.

Shelley D. Leonard, United States Department of Justice, Tax Division, Washington, D.C.,
Counsel for the Government.

MEMORANDUM OPINION AND ORDER

Braden, Judge.

I FACTUAL BACKGROUND! AND PROCEDURAL HISTORY.

On April 15, 2008, Gregory Blue (“Plaintiff”) filed a 2007 U.S. Individual Income Tax
Return on Form 1040A with the Internal Revenue Service (“IRS”). Gov’t Ex. 1 at 1-2. Therein,
Plaintiff reported a pension and an annuity in the amount of $19,356.00 as nontaxable income.
Gov’t Ex. 1 at 1. On July 27, 2009, however, the IRS issued a Notice Of Assessment (“July 27,
2009 Notice”) in the amount of $3,049.00,” because Plaintiff's employer reported Plaintiff's
pension as taxable. Gov’t Ex. 2 at 1, 5; see also Gov’t Ex. 1 at 3 (Plaintiff's Form W-2).

On July 31, 2009, Plaintiff replied to the July 27, 2009 Notice that the IRS’s July 27,
2009 Notice of Assessment was in error, because Plaintiff's pension was nontaxable income.

 

' The facts were derived from the March 23, 2012 Complaint (“Compl.”), Exhibit A
thereto (“Pl. Ex. A”), and Exhibits attached to the Government’s August 7, 2012 Motion To
Dismiss (“Gov’t Ex. 1-8”).

* This amount consisted of a $2,847.00 tax increase, and $202.00 in interest. Gov’t Ex. 2
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Gov’t Ex. 3. In support, Plaintiff enclosed a letter from his pension fund’s manager that advised
that Plaintiff’s monthly pension income was not taxable. Gov’t Ex. 3 at 4.

On August 20, 2009, the IRS responded that, as a matter of law, Plaintiffs pension was
taxable. Gov’t Ex. 3 at 6. Accordingly, Plaintiff was requested to sign the attached “Consent To
Tax Increase” Form. Gov’t Ex. 3 at 6.

On August 24, 2009, Plaintiff again responded that the assessment was in error, because
his pension income was not taxable. Gov’t Ex. 3 at 7. Plaintiff also stated that, if a tax was
assessed, he would file a claim in the United States Tax Court. Gov’t Ex. 3 at 7.

On March 15, 2010, the IRS sent Plaintiff a Notice Of Deficiency (“March 15, 2010
Notice”) that informed Plaintiff of a $2,847.00 “deficiency (increase) in [his] income tax” for tax
year 2007 and included instructions on how to petition the United States Tax Court for a
redetermination of the amount of Plaintiffs tax. Gov’t Ex. 4 at 1-2. That Notice advised
Plaintiff that any petition before the United States Tax Court must be filed within 90 days after
March 15, 2010. Gov’t Ex. 4 at 2.

On March 29, 2010, Plaintiff appealed the March 15, 2010 Notice by filing Form 12203,
Request For Appeals Review (“March 29, 2010 Request For Appeal”). Gov’t Ex. 5.

On April 29, 2010, the IRS clarified that prior correspondence from Plaintiffs pension
fund’s manager did not conclude that Plaintiff's pension was nontaxable income, but informed
Plaintiff that taxes would not be automatically withheld if his payments were less than $1,560.00
per month. Gov’t Ex. 3 at 9. On May 4, 2010, Plaintiff responded that, whether his pension was
taxable or not, he reported all the income that he received. Gov’t Ex. 3 at 12.°

On July 21, 2010, the IRS forwarded Plaintiff a notice (“July 21, 2010 Assessment”) that
he had been assessed the tax, as the 90 day period of review with the United States Tax Court
had expired. Gov’t Ex. 8 at 1. Specifically, the July 21, 2010 Assessment informed Plaintiff
that, if he did not agree with the IRS’s determination, he could file Form 1040X, Amended U.S.
Individual Income Tax Return, and that the date due was “three years from the due date of [the]
original return or two years from the date [he] paid [his] taxes in full, whichever is later.” Gov’t
Ex. 8 at 1.

On August 16, 2010, Plaintiff paid the assessed taxes, including interest, in the amount of
$3,250.00. Gov’t Ex. 7 at 2.

On September 7, 2011, the Appeals Team Manager of the IRS rejected Plaintiff's March
29, 2010 Request For Appeal by a letter, stating that Plaintiff's taxable pension income for tax
year 2007 properly was increased by $19,356.00 in the March 15, 2010 Notice and that his
“claim for refund in the amount of $2,847.00” was disallowed. Gov’t Ex. 6. The September 7,
2011 letter also informed Plaintiff that, if he wished to file suit for “the recovery of any tax,
penalties or other moneys for which this disallowance notice is issued,” he could do so in any

 

> Plaintiff also demanded that the United States Treasury Inspector General for Tax
Administration be contacted, because Plaintiff was a former IRS employee. Gov’t Ex. 3 at 12.
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United States District Court with jurisdiction or in the United States Court of Federal Claims
within two years from the mailing date of this letter. Gov’t Ex. 6.

On October 11, 2011, Plaintiff filed a Petition in the United States Tax Court seeking
$2,847.00, in addition to all interest paid on the alleged overpayment of his 2007 taxes. Pl. Ex.
A. On March 16, 2012, the United States Tax Court dismissed the October 11, 2011 Petition for
lack of jurisdiction, because it was filed 575 days after the mailing of the March 15, 2010 Notice
and beyond the 90-day limitations period that expired on June 4, 2010. Pl. Ex. A.

Thereafter, on March 23, 2012, Plaintiff filed a Complaint in the United States Court of
Federal Claims seeking $2,847.00 and all interest paid on the alleged overpayment of his 2007
taxes. Compl. at 1.

On May 24, 2012, the Government filed a Motion For A More Definite Statement
(“5/24/12 Gov’t Mot.”), asserting that it could not determine whether Plaintiff had filed an
administrative claim for refund. 5/24/12 Gov’t Mot. at 1-2. The Government also advised the
court that it would move to dismiss the March 23, 2012 Complaint, if Plaintiff could not produce
a formal claim for refund, as required by 26 U.S.C. § 7422(a)* and Rule 9(m)(1) of the Rules of
the United States Court of Federal Claims (““RCFC”). 5/24/12 Gov’t Mot. at 1-2.

On June 7, 2012, Plaintiff responded that the claim for refund was filed in the form of the
March 29, 2010 Request For Appeal to the IRS Appeals Division and Plaintiffs October 11,
2011 Petition to the United States Tax Court. 6/7/12 Pl. Resp. at 1. On June 15, 2012, the
Government filed a Reply (“Gov’t Reply”) stating that neither of these filings satisfied the
jurisdictional prerequisite that Plaintiff must file an administrative claim for refund before he
may file a Complaint in the United States Court of Federal Claims. Gov’t Reply at 1-2.

On July 6, 2012, Plaintiff filed a Motion For Summary Judgment (“Pl. Mot. Summ. J.”)
contending that the Government’s intended Motion To Dismiss is without merit, since Plaintiff
filed a timely March 29, 2010 Request For Appeal with the IRS Appeals Division, and later with
the United States Tax Court, and requesting the court to adjudicate the facts in the Complaint.
Pl. Mot. Summ. J. at 1.

On August 7, 2012, the Government filed a Motion To Dismiss And Opposition To
Plaintiffs Motion For Summary Judgment (“8/7/12 Gov’t Mot. Dismiss”).

 

* Section 7422(a) of the Internal Revenue Code provides:

No suit or proceeding shall be maintained in any court for the recovery of
any internal revenue tax alleged to have been erroneously or illegally assessed or
collected, or of any penalty claimed to have been collected without authority, or
of any sum alleged to have been excessive or in any manner wrongfully collected,
until a claim for refund or credit has been duly filed with the Secretary, according
to the provisions of law in that regard, and the regulations of the Secretary
established in pursuance thereof.

26 U.S.C. § 7422(a).
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II. DISCUSSION
A. Jurisdiction.

The United States Court of Federal Claims has jurisdiction under the Tucker Act, 28
U.S.C. § 1491, “to render judgment upon any claim against the United States founded either
upon the Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or unliquidated
damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). The Tucker Act, however, is “a
jurisdictional statute; it does not create any substantive right enforceable against the United
States for money damages... . [T]he Act merely confers jurisdiction upon [the United States
Court of Federal Claims] whenever the substantive right exists.” United States v. Testan, 424
U.S. 392, 398 (1976). Therefore, to pursue a substantive right under the Tucker Act, a plaintiff
must identify and plead an independent contractual relationship, Constitutional provision, federal
statute, and/or executive agency regulation that provides a substantive right to money damages.
Todd v. United States, 386 F.3d 1091, 1094 (Fed. Cir. 2004) (“[JJurisdiction under the Tucker
Act requires the litigant to identify a substantive right for money damages against the United
States separate from the Tucker Act[.]”); see also Fisher v. United States, 402 F.3d 1167, 1172
(Fed. Cir. 2005) (en banc) (“The Tucker Act... does not create a substantive cause of action; in
order to come within the jurisdictional reach and the waiver of the Tucker Act, a plaintiff must
identify a separate source of substantive law that creates the right to money damages. In the
parlance of Tucker Act cases, that source must be ‘money-mandating.’”).

The Tucker Act authorizes the United States Court of Federal Claims to adjudicate tax
refund claims if a taxpayer has paid the full assessed federal tax liability and timely filed a
refund claim with the IRS stating the grounds for the claim. See 28 U.S.C. § 1491(a); 26 U.S.C.
§§ 6511(a), 7422(a); see also Shore v. United States, 9 F.3d 1524, 1526 (Fed. Cir. 1993)
(holding that a tax refund claim must be dismissed if the “principal tax deficiency has not been
paid in full’). If the claim is denied by the IRS and the taxpayer timely files suit, the United
States Court of Federal Claims has jurisdiction to adjudicate the tax refund claim. See 26 U.S.C.
§ 6532(a); see also 28 U.S.C. § 1346(a)(1). The issue of whether the court has jurisdiction over
Plaintiff's tax refund claim is discussed more fully below.

B. Standard Of Review For Pro Se Litigants.

The plaintiff bears the burden of establishing jurisdiction by a preponderance of the
evidence. See Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988)
(“[O]nce the [trial] court’s subject matter jurisdiction [is] put in question . . . [the plaintiff] bears
the burden of establishing subject matter jurisdiction by a preponderance of the evidence.”).

The pleadings of a pro se plaintiff are held to a less stringent standard than those of
litigants represented by counsel. See Haines v. Kerner, 404 U.S. 519, 520 (1972) (holding that
pro se complaints, “however inartfully pleaded,” are held to “less stringent standards than formal
pleadings drafted by lawyers”). It has been the tradition of this court to examine the record “to
see if [a pro se] plaintiff has a cause of action somewhere displayed.” Ruderer v. United States,
412 F.2d 1285, 1292 (Ct. Cl. 1969). Nevertheless, while the court may excuse ambiguities in a
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pro se plaintiff's complaint, the court “does not excuse [a complaint’s] failures.” Henke v.
United States, 60 F.3d 795, 799 (Fed. Cir. 1995).

C. Relevant Standards.
1. Motion To Dismiss Pursuant to RCFC 12(b)(1).

A challenge to the United States Court of Federal Claims’ “general power to adjudicate in
specific areas of substantive law .... is properly raised by a [Rule] 12(b)(1) motionf.]”
Palmer v. United States, 168 F.3d 1310, 1313 (Fed. Cir. 1999); see also RCFC 12(b)(1) (“Every
defense, in law or fact, to a claim for relief in any pleading, whether a claim, counterclaim, or
third-party claim, shall be asserted in the responsive pleading thereto if one is required, except
that the following defenses may at the option of the pleader be made by motion: (1) lack of
jurisdiction over the subject matter[.]”). When considering whether to dismiss an action for lack
of subject matter jurisdiction, the court is “obligated to assume all factual allegations of the
complaint to be true and to draw all reasonable inferences in plaintiff's favor.” Henke, 60 F.3d at
797.

2. Motion For A More Definite Statement Pursuant to RCFC 12(e).

The United States Court of Federal Claims has the power, under RCFC 12(e), to order a
more definite statement of a claim, if the complaint is “so vague or ambiguous that the [United
States] cannot reasonably prepare a response.” Gal-Or v. United States, 93 Fed. Cl. 200, 205
(2010) (quoting RCFC 12(e)). “The motion shall point out the defects complained of and the
details desired.” RCFC 12(e). RCFC 8(a) specifies, however, that plaintiffs need only include in
their pleading “(1) a short and plain statement of the grounds upon which the court's jurisdiction
depends .. . , (2) a short and plain statement of the claim showing that the pleader is entitled to
relief, and (3) a demand for judgment for the relief the pleader seeks.” RCFC 8(a); Whalen v.
United States, 80 Fed. Cl. 685, 693 (2008) (citing Federal Air Marshals v. United States, 74 Fed.
Cl. 484, 488 (2006)).

3. Motion For Summary Judgment Pursuant to RCFC 56.

The moving party bears the burden on a motion for summary judgment of demonstrating
the absence of any genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317,
325 (1986) (holding that the moving party must meet its burden “by ‘showing’ — that is pointing
out to the [trial court] that there is an absence of evidence to support the nonmoving party’s
case.”); see also RCFC 56. Issues of genuine fact, and all reasonable inferences and
presumptions, are to be resolved in favor of the nonmoving party. See Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 255 (1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio
Corp., 475 U.S. 574, 587-88 (1986) (“Respondents correctly note that ‘[o]n summary judgment
the inferences to be drawn from the underlying facts . . . must be viewed in the light most
favorable to the party opposing the motion.’” (quoting United States v. Diebold, Inc., 369 U.S.
654, 655 (1962))).
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On a motion for summary judgment, if there is no genuine issue as to any material fact,
the moving party is entitled to judgment as a matter of law. See Moden v. United States, 404
F.3d 1335, 1342 (Fed. Cir. 2005) (“Summary judgment is only appropriate if the record shows
that there is no genuine issue as to any material fact and that the moving party is entitled to
judgment as a matter of law.”); see also RCFC 56(c). Genuine disputes of material facts that
might affect the outcome of the suit will preclude entry of summary judgment. See Anderson,
477 U.S. at 247-48 (“As to materiality, the substantive law will identify which facts are material.
Only disputes over facts that might affect the outcome of the suit under the governing law will
properly preclude the entry of summary judgment. Factual disputes that are irrelevant or
unnecessary will not be counted... . That is, while the materiality determination rests on the
substantive law, it is the substantive law’s identification of which facts are critical and which
facts are irrelevant that governs.”). The existence of “some alleged factual dispute between the
parties will not defeat an otherwise properly supported motion for summary judgment[.]” Jd.
Therefore, to avoid summary judgment, the nonmoving party must put forth evidence sufficient
for a reasonable factfinder to return a verdict for that party. Jd. at 248-50.

D. The Government’s August 7, 2012 Motion To Dismiss.
1. The Government’s Argument.

The Government argues that the court lacks jurisdiction to consider the March 23, 2012
Complaint. 8/7/12 Gov’t Mot. Dismiss at 1. According to 26 U.S.C. § 7442(a), submission of a
claim for refund to the IRS is a prerequisite to the court’s exercise of jurisdiction over Plaintiff's
tax refund claim. 8/7/12 Gov’t Mot. Dismiss at 3 (citing United States v. Felt & Tarrant Mfg.
Co., 283 U.S. 269, 272 (1931)). Treas. Reg. § 301.6402-3(a)(2) prescribes Form 1040X to
accomplish this purpose, but Plaintiff failed to file this Form. 8/7/12 Gov’t Mot. Dismiss at 4.

In addition, Plaintiff's correspondence with the IRS and Request For Appeal do not
constitute an “informal claim” for refund, because an informal claim is only valid insofar as it is
later perfected by a formal claim for refund, such as a Form 1040X. 8/7/12 Gov’t Mot. Dismiss
at 4 (citing Pennoni v. United States, 86 Fed. Cl. 351, 363 (2009) (“Although a sufficient
informal claim may prevent a plaintiff's claim from being rejected as time-barred, failure to
subsequently perfect the claim by complying with the formal claim requirements will bar the
court from exercising jurisdiction over the claim.”)). Furthermore, Plaintiff's correspondence
with the IRS and March 29, 2010 Request For Appeal are not informal refund claims, because
the amount at issue had not been paid at that time. 8/7/12 Gov’t Mot. Dismiss at 5. Although
Plaintiff's petition to the United States Tax Court was made after payment, the Government
maintains that this is, at best, an unperfected informal claim. 8/7/12 Gov’t Mot. Dismiss at 5.
The Government also argues that, even if Plaintiff's correspondence with the IRS did constitute
an informal refund claim, it was never perfected as required. 8/7/12 Gov’t Mot. Dismiss at 4-5.

2. The Plaintiff's Response.

The Plaintiff did not respond to the Government’s August 7, 2012 Motion To Dismiss,
but in Plaintiff's July 6, 2012 Motion For Summary Judgment, Plaintiff argues that his filings
with the IRS Appeals Division and with the United States Tax Court constituted proper and
timely claims for refund. Pl. Mot. Summ. J. at 1.
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3. The Court’s Resolution.

Section 7422(a) of the Internal Revenue Code states that “[n]o suit or proceeding shall be
maintained in any court for the recovery of any internal revenue tax . . . until a claim for refund
or credit has been duly filed with the Secretary, according to the provisions of law in that regard,
and the regulations of the Secretary established in pursuance thereof.” 26 U.S.C. § 7422(a). As
stated in section 7422(a), the IRS is authorized to prescribe the form of the refund claim. The
IRS has done so in Treas. Reg. § 301.6402-3(a)(2), requiring that, “[iJn the case of an
overpayment of income taxes for a taxable year of an individual for which a Form 1040 or
1040A has been filed, a claim for refund shall be made on Form 1040X.” After Plaintiff was
informed of the formal procedures required to institute a refund claim by the August 4, 2010
Assessment, it does not appear that Plaintiff ever filed a formal claim for refund on Form 1040X.

The August 4, 2010 Assessment informed Plaintiff that “the due date for filing Form
1040X is three years from the due date of your original return or two years from the date you
paid your taxes in full, whichever is later.” Gov’t Ex. 8. Plaintiff paid the assessed tax on
August 16, 2010, meaning that the later period of limitations for filing a refund claim expired on
August 16, 2012. Therefore, the only issue remaining is whether the court has jurisdiction over
the March 23, 2012 Complaint, although Plaintiff did not satisfy the IRS’s formal refund claim
requirements within the period of limitations.

a. Exceptions to the Formal Claim Requirement.

There are four recognized exceptions to the formal claim requirement, two of which are
pertinent to the Government’s August 7, 2012 Motion To Dismiss.”

i. The Informal Claim Doctrine.

The United States Court of Appeals for the Federal Circuit has recognized the validity of
an informal claim, if it “fairly apprises the IRS of the basis of the claim within the limitations
period.” See Computervision Corp. v. United States, 445 F.3d 1355, 1364 (Fed. Cir. 2006)
(citing Kales v. United States, 314 U.S. 186 (1941)). A trial court may invoke the informal claim
doctrine, but only where “a [timely] notice fairly advising the Commissioner of the nature of the
taxpayer's claim [has been made so that the claim can be treated as effective and] where formal
defects . . . have been remedied by amendment filed after the lapse of the statutory period.”

 

> The third exception, the general claim doctrine, exists where “(1) the taxpayer has filed
a formal general claim within the limitations period; and (2) an amendment is filed outside the
limitations period that makes the general claim more specific.” Computervision Corp. v. United
States, 445 F.3d 1355, 1368 (Fed. Cir. 2006). The fourth exception, the germaneness doctrine,
only applies where the taxpayer “(1) files a formal claim within the limitations period making a
specific claim;” and “(2) after the limitations period but, while the IRS still has jurisdiction over
the claim, files a formal amendment raising a new legal theory—not specifically raised in the
original claim—that is ‘germane’ to the original claim, that is, it depends upon facts that the IRS
examined or should have examined within the statutory period while determining the merits of
the original claim.” Jd. at 1370. The court has determined that neither of these exceptions
applies in this case, because Plaintiff never filed a formal claim or amendment, i.e. a Form
1040X, either during or outside the limitations period.
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Kales, 314 U.S. at 194. As a matter of law, a notice is timely if it: provides actual or
constructive notice to the Commissioner that the taxpayer is seeking a refund; describes the
factual and legal basis for the claim; and has a written component. Mobil Corp. v. United States,
67 Fed. Cl. 708, 716 (2005); see also New Eng. Elec. Sys. v. United States, 32 Fed. Cl. 636, 641
(1995) (“There are three components to an informal claim. First, an informal claim must provide
the Commissioner of the IRS with notice that the taxpayer is asserting a right to a refund.
Second, the claim must describe the legal and factual basis for the refund. Finally, an informal
claim must have some written component.”).

An informal claim, however, is only valid if it is subsequently perfected by a proper
formal claim for refund, in this case, a Form 1040X. See Pennoni v. United States, 86 Fed. Cl.
351, 363 (2009). In this case, it appears that Plaintiff has never filed a Form 1040X, so,
regardless of whether any of Plaintiff's correspondence, his March 29, 2010 Request For Appeal,
or his Petition filed with the United States Tax Court, constituted an informal claim, the
informal claim doctrine does not apply.

ii. The Waiver Doctrine.

The waiver doctrine also provides an exception to the formal refund claim requirements
where the IRS has adjudicated an informal claim as if it were formal. In Angelus Milling
Co. v. C.ER., 325 U.S. 293 (1945), the IRS had adjudicated, within the period of limitations, a
claim that was not submitted in the form required by regulation. The United States Supreme
Court held that “[i]f the Commissioner chooses not to stand on his own formal or detailed
requirements, it would be making an empty abstraction, and not a practical safeguard, of a
regulation to allow the Commissioner to invoke technical objections after he has investigated the
merits of a claim and taken action on it.” Jd.; see also United States v. Memphis Cotton Oil Co.,
288 U.S. 62 (1933) (holding that a claim, though general, was sufficient where it was adjudicated
by the agency). The United States Court of Appeals for the Federal Circuit also has observed
that the central purpose of the waiver doctrine is “to prevent IRS agents from lulling taxpayers
into missing the limitations deadline.” Computervision Corp., 445 F.3d at 1366; see also id. at
1366-67 (“Where the taxpayer learns, within the limitations period, that the IRS has addressed
the merits of a particular ground, and thus fails to file a timely formal claim raising that ground,
the taxpayer’s claim is not barred.”).

In this case, it appears that the IRS treated Plaintiff's Request For Appeal as a claim for
refund and administratively processed it as such. See Gov’t Ex. 6 (responding on September 7,
2011 to Plaintiff's pre-payment March 29, 2010 Request For Appeal, “your claim for refund...
has been disallowed.”) (emphasis added). The letter also stated that the law permits Plaintiff to
file a claim “for the recovery of any tax .. . by filing such a suit . . . with the United States Court
of Federal Claims .. . within 2 years from the mailing date of this letter.” Gov’t Ex. 6 (emphasis
added). Section 6532(a) of the Internal Revenue Code® provides that no suit may be brought
“under section 7422(a) for the recovery of any income tax . . . after the expiration of 2 years from
the date of mailing by certified mail.” It is clear that the IRS treated Plaintiff's March 29, 2010

 

° The section of the Internal Revenue Code cited by the IRS’s September 7, 2011 letter is
entitled “Suits by taxpayers for refund.” 26 U.S.C. § 6532(a).
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Request For Appeal as a claim for a refund, even though the claim was not made on Form 1040X
and was prior to the payment of the assessed tax.

Therefore, the Government’s invocation of the informal claim doctrine is misplaced.
Although it is true that an informal claim must be perfected before the court can exercise
jurisdiction, it is also true that where the IRS has adjudicated a claim that does not meet the
formal requirements, those requirements are waived for purposes of stating a refund claim. In
this case, the IRS Office of Appeals processed Plaintiff's Request For Appeal in the same
manner as it would have if the claim had been presented on form 1040X, thereby evidencing that
the IRS waived formal requirements as to Plaintiff's refund claim. For these reasons, the court
has determined that it has jurisdiction to adjudicate the tax refund claim alleged in the March 23,
2012 Complaint.

E. The Government’s May 24, 2012 Motion For A More Definite Statement.
1, The Government’s Argument.

The Government’s May 24, 2012 Motion For A More Definite Statement states that the
March 23, 2012 Complaint is not specific enough to allow the Government to prepare an answer.
5/24/12 Gov’t Mot. at 1-2. Specifically, the March 23, 2012 Complaint does not allege that
Plaintiff filed a claim for refund, nor attach a copy of a refund claim, as required by RCFC
9(m)(1), which is necessary for the Government to investigate the merits, as well as a
prerequisite for the court’s exercise of jurisdiction, pursuant to 26 U.S.C. § 7422(a). 5/24/12
Gov’t Mot. at 1-2.

2. The Plaintiff’s Response.

Plaintiff's June 7, 2012 Response states that the March 29, 2010 Request For Appeal
from the IRS and his October 11, 2011 Petition in the United States Tax Court constituted proper
refund claims. 6/7/12 Pl. Resp. at 1.

3. The Court’s Resolution.

Although the Government insists that, because Plaintiff did not attach a copy of the
refund claim, the Government cannot adequately investigate the allegations in the March 23,
2012 Complaint, that argument lacks merit. The March 23, 2012 Complaint clearly states that
Plaintiff is requesting reimbursement for the taxation of his pension income reported on “LINE
12B OF 1040A 2007 TAX YEAR.” Compl. at 1. It also specifies what is challenged and allows
the Government to answer. The Government’s only remaining contention is that the March 23,
2012 Complaint does not inform it of whether the court has jurisdiction over Plaintiff's claim.

For the reasons discussed above, the court has determined that it has jurisdiction in this
case, and the Government’s Answer is due within 14 days after the issuance of this
Memorandum Opinion and Order. See RCFC 12(a)(4)(A)(i). As such, the Government’s May
24, 2012 Motion For A More Definite Statement is denied.
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F. Plaintiff's July 6, 2012 Motion For Summary Judgment.

1, The Plaintiff’s Argument.

The July 6, 2012 Motion For Summary Judgment contends that Plaintiff reported all
required income and that his pension was not taxable. Pl. Mot. Summ. J. at 1. Therefore,
Plaintiff requests that the court issue a judgment on the merits, based on these existing facts. Pl.
Mot. Summ. J. at 1.

2, The Government’s Response.

The Government responds that Plaintiff's July 6, 2012 Motion is premature and must be
denied. The Government has not filed an Answer and the parties have not conducted discovery.
8/7/12 Gov’t Mot. Dismiss at 5. In addition, Plaintiff has not supported the factual allegations
asserted in the July 6, 2012 Motion. 8/7/12 Gov’t Mot. Dismiss at 5-6.

3. The Court’s Resolution.

Genuine disputes of material fact that might affect the outcome of the suit will preclude
entry of summary judgment. See Anderson, 477 U.S. at 247-48. Material factual disputes cannot
be addressed prior to the Government’s Answer and discovery. At this juncture, the court has
limited information about the merits of the tax refund claim at issue. Summary Judgment is
appropriate only where there is no evidence to support the non-moving party’s case. See Celotex
Corp., 477 U.S. at 325; Moden, 404 F.3d at 1342. The IRS statements attached to the
Government’s August 7, 2012 Motion To Dismiss are sufficient to establish that a material fact
is in dispute. Gov’t Ex. 1-8. Plaintiff has not established his entitlement to summary judgment
on the merits of his refund claim as a matter of fact and law. See RCFC 56(c). For these
reasons, Plaintiff's July 6, 2012 Motion For Summary Judgment is denied.

II. CONCLUSION.

For the foregoing reasons, the Government’s August 7, 2012 Motion To Dismiss is
denied, the Government’s May 24, 2012 Motion For A More Definite Statement is denied, and
Plaintiff's July 6, 2012 Motion For Summary Judgment is denied. The Government will file an
Answer on or before January 3, 2013.

IT ISSO ORDERED.

 

SUSAN/G. BRADEN
Judg

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